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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
                         )
             v.          )                           Case No. 21-CR-00188-RDM
                         )
PAUL ALLARD HODGKINS     )
                         )
            Defendant.   )

 REPLY TO GOVERNMENT'S RESPONSE TO MOTION TO EXTEND TIME FOR
                      NOTICE OF APPEAL

     The Defendant PAUL ALLARD HODGKINS by and through undersigned counsel

hereby respectfully submits a reply to the AUSA response filed on August 31, 2021 (Doc.

#45) to Mr. Hodgkins' motion to extend time (Doc #40) for filing a Notice of Appeal.

     Without any Government agreement or review, Mr. Hodgkins could have filed a notice

of appeal by August 6, 2021 - had his former attorney not misinformed Mr. Hodgkins' of his

rights. Under Fed. R. App. P. 4(b)(1)(A), Appeal in a Criminal Case, the time Mr. Hodgkins

had to file a Notice of Appeal with this Court was within 14 days after "(i) the entry of either

the judgment or the order being appealed. . . ." (Emphasis added). Because Mr. Hodgkins

missed the deadline, but is within the extension limits, he relies on Court approval.

     This Court upon a finding of excusable neglect or good cause as specific criteria listed

in Fed. R. App. P. 4(b)(4), may extend the time to file a Notice of Appeal for a period not to

exceed 30 days from the expiration of the 14-day time prescribed by Rule 4(b)(4). Regarding

the time under Rule 4(b)(1)(A), the judgment order was entered into the case docket on July

23, 2021. Mr. Hodgkins objects to the AUSA's response that incorrectly states the judgment
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was entered was July 20, 2021. July 20, 2021 was a date of filing, and not the entry date

shown in the docket. However, Mr. Hodgkins appreciates the Government's prompt response.

     The merits of and causes in any appeal that may be filed are not the issue here. The

undersigned attests that the motion is not frivolous. The AUSA's objection speculates on

perceived merit of an appeal. As stated supra, the Government does not have any ability to

raise an objection to a filing of a notice of appeal when it is timely filed. And according to

Fed. R. App. P. 3(c), Contents of the Notice of Appeal, any appeal causes are not part of the

notice. The AUSA's response argues an opinion as to whether the record supports an appeal.

That will in fact be the decision of the Circuit Court. The issue here is not whether Mr.

Hodgkins' appeal will be successful or remanded for further proceedings. And while the

AUSA appears to be arguing for a 28 U.S.C. § 2255 appeal, the AUSA makes no argument

that the requested extension of time causes any issue regardless of the appeal route.

     The issue at hand is not about any causes the AUSA speculates will be included in the

appeal. The issue here is whether Mr. Hodgkins as a pro se civilian as of August 7, 2021

(regardless of whether he knew that was his status) had good cause or showed excusable

neglect in missing the deadline on August 6, 2021 to file a notice of appeal. The bases for

extra time in filing the notice of appeal are separate from speculative bases for an appeal,

even if both have a commonality on the matter of ineffective assistance of counsel. Is justice

served if Mr. Hodgkins is allowed to preserve his right to file an appeal? The Defense argues

the answer is "yes."

     In review of his "good cause," Mr. Hodgkins attests through undersigned counsel that

despite catching brief mention of the word "appeal" at the sentencing hearing on July 19,




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2021, that when he asked his former counsel outside the Court that day, the former attorney's

answer was that there was no appeal at all available to Mr. Hodgkins. The AUSA's response

insinuates that evidence must be provided for this assertion, with affidavits and hearings. The

AUSA's response creates a new District and Appellate Court rule that is not currently in

existence for a notice of appeal: that there must be evidentiary hearings, proof, and sworn

affidavits. LCrR 47 contains no such requirements. LCrR simply states, "Each motion shall

include or be accompanied by a statement of the specific points of law and authority that

support the motion, including where appropriate a concise statement of facts."

     The Fed R. of Cr. P. Rule 47(b), Form and Content of a Motion, states that for a motion

outside a trial or hearing, it must be in writing and state the grounds on which it is based; and

must contain the relief sought. The rule goes on to state "a motion may be supported by

affidavit." The AUSA declares in the response that there must be evidentiary hearings and

affidavits, as if this were a 28 U.S.C § 2255 appeal. Unlike the Federal Rules of Civil

Procedure's rule on motions and pleadings that follow the Twombly/Iqbal standards, the

Federal Rules of Criminal Procedure instead only require that some facts be stated. The

AUSA provides no counter to the facts presented, where if the instant motion were within

Civil Procedure, said facts would be taken as true unless outright countered.

     The AUSA wants proof the facts stated are true when that is not the standard under the

rules for the extension of time motion at hand. Further, if we applied Twombly/Iqbal

standards, the facts alleged by Mr. Hodgkins would only need to be plausible on their face,

where any allegations go beyond being merely possible or conceivable.




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     To assuage the AUSA's concern that the facts in the motion are true or plausible,

despite their being attested to by virtue of being in the motion, Attachment 1 is a recent email

to Mr. Hodgkins from former counsel. Mr. Hodgkins' original email merely asked his former

counsel to respond to his new attorney's request for the entire case file that Florida's

Professional Conduct rules require be transferred. Mr. Hodgkins sent the request after former

counsel refused to acknowledge the undersigned attorney's request for all the case

documents; written correspondence; emails with the AUSA and Mr. Hodgkins; and his

signed attorney-client engagement letter. Neither the undersigned nor Mr. Hodgkins used the

word "appeal." Thus, in satisfying plausibility, one can infer from the former counsel's

response email that Mr. Hodgkins' discussion with former counsel right after sentencing was

about an appeal. The former counsel latched onto the topic without prompt. Mr. Hodgkins

partially heard mention of "appeal" in the sentencing proceeding and asked former counsel

about it outside the court. As stated in the motion, former counsel said there was no appeal.

The former counsel immediately departed after sentencing for a stateside mobilization post

with solid communications without providing guidance for a notice of appeal, or requesting

and providing the judgement order or sentencing transcript to Mr. Hodgkins. Correct advice

and provision of the sentencing transcript would have given Mr. Hodgkins the 14-day

timeline.

     Attachment 1 shows plausibility of the assertions in the motion, as former counsel

states "You will not be allowed to withdraw your plea. Your case was concluded when the

court sentenced you. You have no right to appeal the sentenced [sic] pursuant to our plea

agreement. The case is final and has been final since 20 July."




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      But regardless of whether the former counsel agreed or not, when Mr. Hodgkins

mentioned "appeal" the former counsel was obligated to offer to file the notice or at least

provide guidance and to assist in preserving his client's ability to appeal. The former counsel

did not change his position on appeal between May 31, 2021 and most recently as shown in

the email attachment - former counsel always told Mr. Hodgkins that he had no appeal about

anything. The former attorney failed in his duty to accurately advise Mr. Hodgkins. This falls

below the standard of reasonableness for attorney conduct. Thus, Mr. Hodgkins has good

cause for missing the deadline based on ineffective assistance of counsel.

      In support of the motion's allegation of ineffective assistance of counsel, an email from

former counsel responding to undersigned counsel’s multiple requests for the entire case file

and all case email correspondence is at Attachment 2.1 The Attachment 2 text by former

counsel demonstrated former counsel's disparagement and falsehoods that were meant to

intimidate Mr. Hodgkins as an addressee. Counsel received no email with vile invectives and

misrepresented the undersigned counsel's length of bar membership. His failure to know the

rules in in the statement: "There are no transcripts of which I am aware. Transcripts are

generally ordered upon the filing of a notice of appeal that must be done within 14 days. By

motion and for good cause, that can be extended an additional 16 days. Those 30 days ran on

Saturday when I received Paul's email at 9:30 am here in Qatar."

      The above is provided to curtail the Government's asserted rule that the motion must be

examined in an evidentiary hearing. Positive light regarding the facts stated in the motion



1The emails requested on August 19, 2021 did not start arriving until before dawn on September 2, 2021.
There are approximately 215 total emails (not 469), with many being automated notices from the Court's
electronic filing system. The total time period for he email transmissions was approximately 90 minutes.




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should be afforded to Mr. Hodgkins. His attorney's failure to know and convey the rules for

appeal, while not conveying that there were transcripts entered in the docket were

unreasonable and constitute ineffective assistance of counsel. These facts support Mr.

Hodgkins' good cause to request an extension of time.

     Continuing with a showing of plausibility in support of good cause for the motion for

the extension of time, unreasonableness equals ineffective counsel when the counsel does not

abide the client's goals. Under the Florida Rules of Professional Conduct for Attorneys,

former counsel acted unreasonably regarding his client and his client's goals. Florida RULE

4-1.2 OBJECTIVES AND SCOPE OF REPRESENTATION paragraph (a) states the "lawyer

must abide by a client’s decisions concerning the objectives of representation, and, as

required by rule 4-1.4, must reasonably consult with the client as to the means by which they

are to be pursued." Mr. Hodgkins was clear from the start that he did not want to plead guilty

to a felony. The Attachment 3 correspondence with the AUSA office, received in today's

email dump from former counsel, shows irresponsible and unauthorized negotiating. No

emails on negotiations with the AUSA were forwarded or conveyed to Mr. Hodgkins over

the period of March until the end of April 2021 (see Attachment 4) - with the exception that

he may have been told once that the AUSA wanted to seek a felony plea.

     The former attorney excluded Mr. Hodgkins from the plea discussion. The above is

stated to support the veracity and plausibility of what Mr. Hodgkins alleged in the motion to

extend time. Between an April 29 email until May 27, 2021, the former attorney conveyed

that he had not heard anything while he instead was extensively involved in compressing

time. He called Mr. Hodgkins on May 27, 2021 after receiving the AUSA's signed plea offer,




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(Doc. #22) and did not send Mr. Hodgkins a copy, and delayed the meeting to review the

plea agreement until May 31, 2021 - the day before expiration. It was the former attorney's

plan all along to pressure his client, as shown in a collective view of Attachments 3 and 4;

the June 1, 2021 expiration date for plea acceptance in Doc #22; and the former attorney's

refusal to provide a copy of the plea deal document or set an office call until May 31, 2021.

     The high-pressure requirement to sign immediately came solely at former counsel's

impetus, designed for the former counsel's own interests and not those of the client. One

might wonder whose team Mr. Hodgkins' former attorney was on, or whether he was capable

of discerning felonies from misdemeanors. Mr. Hodgkins' former attorney repeatedly told

him that all counts were felonies and Mr. Hodgkins was guilty of every single one. The US

News article at Attachment 5 shows that the former attorney not only never intended to

defend Mr. Hodgkins, but that he never believed he could defend his client. This should also

be considered in light of the former attorney's misrepresentation of the USSG to Mr.

Hodgkins. For unknown reasons the former attorney decided that a Zone D categorized

offense could receive probation. Attachment 6 is what he wrote on Jun 2, 2021 when Mr.

Hodgkins wanted to withdraw his plea. If there is an analogous term for an attorney holding a

client hostage, similar to Stockholm Syndrome, where the "client hostage" (with most funds

depleted and nowhere to turn as he is falsely accused of being a terrorist and insurrectionist)

develops a positive emotional bond with the captor (believing the captor is right and should

be believed), then this case is that. The actions and totality of the circumstances constituted

unreasonable behavior and contributed to Mr. Hodgkins missing the deadline to file a notice

of appeal.




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     The Court and AUSA are aware that the former attorney severely compressed time

based on his reserve mobilization schedule for July 20-21, 2021. The former attorney was

focused on his own interests and deployment timeline, where although he knew by Mar 3-5,

2021 that he was going overseas, former counsel did not tell Mr. Hodgkins when accepting

the engagement and client's cash that he would not be around after July 20, 2021. The former

attorney accepted engagement knowing he could not proceed to trial defense prior to

accepting the engagement with Mr. Hodgkins. It was in former counsel's interests that Mr.

Hodgkins plead early and not withdraw his plea.

     Knowing that he was going to deploy and that he could not reasonably expect to even

support a standard time for a plea agreement, the former attorney was in fact providing

limited scope representation. In Florida, if an attorney is not going to represent a client for

an entire matter, then under Professional Conduct Rule 4-1.2 (c), Limitation of Objectives

and Scope of Representation, "If not prohibited by law or rule, a lawyer and client may agree

to limit the objectives or scope of the representation if the limitation is reasonable under the

circumstances and the client gives informed consent in writing." No such writing or informed

consent was ever discussed or executed.

     The Attachment 1 email responded to Mr. Hodgkins based on the undersigned

attorney's request for the signed engagement. Further, the Florida Bar Rule comments section

on "Agreements limiting scope of representation" states that "regardless of the circumstances,

a lawyer providing limited representation . . . owes the client all attendant ethical obligations

and duties imposed by the Rules Regulating The Florida Bar, including, but not limited to,

duties of competence, communication, confidentiality, and avoidance of conflicts of




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interest." The high pressure compressed time schedule where former counsel found it

acceptable to arrange for a felony charge against his client's objectives, followed by abruptly

ending the attorney-client relationship without assisting Mr. Hodgkins in filing a notice of

appeal are good cause for Mr. Hodgkins to have missed the deadline. The former attorney's

conduct was unreasonable by the Florida Bar Rules and resulted in Mr. Hodgkins not

receiving the information regarding any notice required for appeal.

     The AUSA did not address excusable neglect. The Government's response should have

addressed and raised objections to the factors the Court is likely to consider. Under the

Pioneer factors for excusable neglect, courts should consider "(1) the risk of prejudice to the

other side; (2) the length of the delay and the potential impact on judicial proceedings; (3) the

reason for the delay and whether it was within counsel's reasonable control; and (4) whether

counsel acted in good faith." Rogers v. Amalgamated Transit Union, No. 1:14-cv-01650

(APM), at *3 (D.D.C. May 1, 2017) (citing Pioneer Inv. Servs. Co. v. Brunswick

Assocs., Ltd. P'ship, 507 U.S. 380, 395 (1993)). While this reference is to a civil case, a

majority of federal circuit courts apply it in civil and criminal filings according to Stutson v.

United States, 516 U.S. 193 (1996). Further, courts make "an equitable determination after

assessing these and another relevant factors." King v. U.S. Dep't of Justice, 292 F. Supp. 3d

182, 186-87 (D.D.C. 2017) (citing Pioneer Inv. Servs. Co., 395.) The AUSA's response gave

no Pioneer reason to oppose an extension of time.

     Since the former attorney departed without any offer to assist with an appeal notice

filing, Mr. Hodgkins in his pro se capacity acted in good faith and took all actions within his

reasonable control. He did not go off on vacation or fail to act upon a document in his




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possession. As a non-attorney waking up to the false one-sided bond with his former

attorney, he took all reasonable steps in his control. While case history shows courts not

readily accepting attorney's claims to not know the rules as qualifying for excusable neglect,

Mr. Hodgkins is not an attorney, and he did his best using internet resources and input from

friends to understand whether he might appeal and if so, when.

     The Court should allow for both good cause and excusable neglect in Mr. Hodgkins

missing the filing date for his notice of appeal. The Government has brought forth no Pioneer

factor or justifiable opposition to good cause. The delay of 30 days after the original deadline

for Mr. Hodgkins to file a notice of appeal serves the interests of justice by affording the

opportunity to appeal based on the record and merits.

     WHEREFORE, PAUL ALLARD HODGKINS requests that the Court grant the

     motion to extend time to file a notice of appeal.

     The undersigned also DECLARES no changes to textual content of emails or texts in

attachments were made. Any edits involved redactions, adding attachment designation, page

format, or whatever magic Acrobat Pro performs in sanitizing and removing hidden metadata

from documents, which sometimes causes font adjustment and changes to text clarity.



September 2, 2021                             Respectfully submitted,
                                              /s/ Carolyn A. Stewart

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             Attachment 1: August 21, 2021 Email
----- Forwarded Message -----
From: Paul Hodgkins                                  >
To: Patrick Leduc
Sent: Saturday, August 21, 2021, 04:37:06 AM GMT+3
Subject:


   Dear Mr. Leduc,
      I fully concur with Mr.Stavrou completing his action to retrieve my property from the government. Those ac ions should con inue.
      Since outside the property action you terminated representation without documenting it, this writing confirms that I am termina ing you as my legal
   representative. My new attorney is Carolyn Stewart and I ask that you promptly provide the case materials and correspondence she requested in wri ing. And, if
   you should receive any correspondence related to my case hat you provide it to Ms. Stewart.

   Thank you very much,
   -Paul
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   Attachment 2 Email


Subject: Re: Last follow-up a0er mul3ple 3me sensi3ve requests for the en3re client ﬁle
Date: Wednesday, August 25, 2021 at 2:23:34 AM Eastern Daylight Time
From: Patrick Leduc
To:      CStewart esq
CC:      Carolyn Stewart, Paul Hodgkins, John Maher, Alex Stavrou

Ms. Stewart:

    On multiple occasions, you have indicated that I was attempting to bully or intimidate.
 Then you go on with a lot if invective and innuendo about this or that. I reviewed my email
to you and the one to Paul on Saturday, and see both as very matter of fact and honest.
 Nothing sent was intended as what you assert. If oﬀense was taken, please accept my
apology.

However, the entire problem is being created by you and the fact that you are a new attorney
who has almost no understanding of the Federal system. Your lack of understanding is
sending you down a bunch of rabbit holes, and if you would have simply reached out to more
experienced attorney's who actually practice law in the Federal system, many of your
questions would have been answered already. You are giving your client false hoped for a
fee, and that is wrong. An experienced attorney would have ALREADY known many of the
answers to the questions you are seeking.

First, everything you are seeking is on PACER and is available to you right now. Second,
you are going to be disappointed by DOC 38, since it is a boilerplate form that is signed by
the judge out of course. Third: There are no transcripts of which I am aware. Transcripts
are generally ordered upon the filing of a notice of appeal that must be done within 14 days.
 By motion and for good cause, that can be extended an additional 16 days. Those 30 days
ran on Saturday when I received Paul's email at 9:30 am here in Qatar. I responded
IMMEDIATELY to him and asked Alex to provide him a full file. In short, experienced
attorney's would know this already. My obligations to Paul are being met, and being done
as timely as humanly possible given where I am where he is. The file has been available to
him since Monday, which is the first day available. As you should know, my oﬃce is not
shuttered, as Mr. Stavrou works out of that location.

Here is what you should know. Capitol Hill Defendants found in the Senate are all being
oﬀered a felony (same as Paul)(some more than one felony) with an 8 level enhancement (you
might consider obtaining a Federal Sentencing manual for your reference). I was able to get
the DOJ to agree to only a 3 level enhancement. You ought to know that my plea deal was
adopted at the highest level to include the AG of the United States. That meant that my
client was at level 14 vice level 19. Other Capitol Hill defendant are looking at 46 months
low end. The AG instructed AUSA Sedky to argue for mid range -18 months. Judge Moss,
pursuant to 3553 varied 3 levels and sentenced Paul to low end - 8 months. And you would
suggest that is evidenced of malpractice. I would argue that an attorney of 6 months
accusing an attorney with over 250 jury trials at both the State and Federal level, and with 30
years of experience is unprofessional on your part.

If you think the plea deal was insuﬃcient, then you ought to know that the United States
makes oﬀers with a a take it or leave it attitude. Everything in the plea deal was boilerplate
with one exception that did not bother me. That was a provision that required me to agree
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  Subject: RE: Paul
Attachment 4 email
  Thanks for reaching out. I’m trying to get authorization for him to plead to the 1512(c) felony and
  with USSG of 17, which after acceptance, would put him at 14. (BTW many other defendants will
  likely be tagged with a +8 for relevant conduct/aiding and abetting conduct that caused or
  threatened physical injury under 2J.1.2(b)(1)(B). I don’t mean to sully your client’s reputation as a
  boy scout, but it seems that he has an extensive history with BDSM and similar sexual fetish
  conduct.




  Base Oﬀense Level

  U.S.S.G. § 2J1.2                                                             14

  Specific Oﬀense Characteristics

  U.S.S.G. § 3A1.2(a)                   oﬃcial victim                        +3




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